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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1792V
                                          UNPUBLISHED


    DAVID STEWART, as parent and                                Chief Special Master Corcoran
    natural guardian of J.S., a minor,
                                                                Filed: August 2, 2022
                         Petitioner,
    v.                                                          Special Processing Unit (SPU); Joint
                                                                Stipulation on Damages; Influenza
    SECRETARY OF HEALTH AND                                     (Flu) Vaccine; Guillain-Barre
    HUMAN SERVICES,                                             Syndrome (GBS)

                         Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On December 7, 2020, David Stewart, as parent and natural guardian of J.S., a
minor, filed a petition for compensation under the National Vaccine Injury Compensation
Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”), on behalf of J.S. Petitioner
alleges that J.S. suffered Guillain-Barré Syndrome (“GBS”) caused by the influenza
vaccine J.S. received on January 25, 2018. Petition at 1, ¶¶ 2, 17; Stipulation, filed at
Aug. 1, 2022, ¶¶ 1-2, 4. Petitioner further alleges that J.S. received the vaccine in the
United States, that J.S. suffered the residual effects of GBS for at least six months, and
that neither Petitioner nor any other party has filed a civil action or received an award for
J.S.’s GBS, alleged as vaccine caused. Petition at ¶¶ 2, 17-19; Stipulation at ¶¶ 3-5.
“Respondent denies that J.S. sustained a Table injury; denies that the vaccine caused
J.S.’s alleged GBS, or any other injury; and denies that J.S.’s current condition is a
sequela of a vaccine-related injury.” Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on August 1, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $65,000.00 to purchase the annuity contract described in
        paragraph 10 of the Stipulation, paid to the life insurance company from
        which the annuity will be purchased. Stipulation at ¶ 8. This amount represents
        compensation for all items of damages that would be available under Section
        15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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